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                           UNITED STATES DISTRICT COURT
12
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                    WESTERN DIVISION
14
     IN THE MATTER OF THE                       )      Magistrate’s Docket Number:
15   ADMINISTRATIVE INSPECTION OF:              )
16                                              )      2:19-MJ-02987
     NEW CENTURY PHARMACY                       )
17   DEA Reg. No.: BN7177531                    )
18   8227 WOODMAN AVENUE                        )
     PANORAMA CITY, CA 91402                    )
19                                              )
20
21    ADMINISTRATIVE INSPECTION WARRANT RETURN AND INVENTORY
22     1. I am returning the attached administrative inspection warrant issued by this Court
23        on July 22, 2019.
24     2. The inspection was conducted on July 24, 2019, under the authority granted by
25        that administrative inspection warrant. The following materials were removed
26        from the premises of New Century Pharmacy, 8227 Woodman Avenue, Panorama
27        City, CA 91402, and returned to that location on the date indicated:
28
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 1   Description                   Quantity   Location    Removed by     Date returned
 2   Official order forms          90         Pharmacy    Eva Lew        08/02/2019
 3   Dispensed drug reports        4          Pharmacy    Eva Lew        08/02/2019
 4   Purchase invoices             234        Pharmacy    Eva Lew        08/02/2019
 5   Schedule 2 quarterly report   1          Pharmacy    Eva Lew        08/02/2019
 6   Prescriptions                 2287       Pharmacy    Eva Lew        08/02/2019
 7
 8
 9
     Dated: August 2,2019
                                                         9
10                                             Eva Lew'
                                               Diversion Investigator
11
                                               Drug Enforcement Administration
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